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 8                              UNITED STATES DISTRICT COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA

10                                    OAKLAND DIVISION

11   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                              [PROPOSED] ORDER GRANTING
                                               MOTION OF DEFENDANTS NSO
13               Plaintiffs,                   GROUP TECHNOLOGIES LIMITED
                                               AND Q CYBER TECHNOLOGIES
14         v.                                  LIMITED TO DISMISS UNDER
                                               FEDERAL RULES 12(B)(1), 12(B)(2),
15   NSO GROUP TECHNOLOGIES LIMITED            12(B)(6), AND 12(B)(7)
     and Q CYBER TECHNOLOGIES LIMITED,
16

17               Defendants.

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     [PROPOSED] ORDER GRANTING                                   Case No. 4:19-cv-07123-PJH
     MOTION TO DISMISS
     Case 4:19-cv-07123-PJH Document 45-15 Filed 04/02/20 Page 2 of 2




 1          The Court, having fully considered the motion of Defendants NSO Group Technologies

 2 Limited and Q Cyber Technologies Limited to dismiss the Complaint and all points and

 3 authorities filed in support of and in opposition to the motion and the arguments of counsel, and

 4 GOOD CAUSE THEREFOR APPEARING, IT IS HEREBY ORDERED:

 5          1.      The motion is GRANTED.

 6          2.      The Court is without subject matter jurisdiction because the Foreign Sovereign

 7 Immunities Act and derivative sovereign immunity bar this action. 28 U.S.C. § 1604; Butters v.

 8   Vance Int’l, Inc., 225 F.3d 462, 466 (4th Cir. 2000).

 9          3.      There is no personal jurisdiction in California over either Defendant because

10 Defendants did not consent to personal jurisdiction, Defendants are not “at home” in California

11 for purposes of general jurisdiction, and Plaintiffs have not alleged sufficient contacts between

12 Defendants and California to establish specific jurisdiction. See Schwarzenegger v. Fred Martin

13   Motor Co., 374 F.3d 797, 800–02 (9th Cir. 2004).

14          4.      Plaintiffs’ failure to join indispensable parties, specifically Defendants’ foreign

15 sovereign customers, requires dismissal under Rules 12(b)(7) and 19.

16          5.      Plaintiffs fail to state a claim under the Computer Fraud and Abuse Act or for

17   trespass to chattels. Fed. R. Civ. P. 12(b)(6). Plaintiffs do not adequately plead that Defendants

18   accessed their servers “without authorization,” 18 U.S.C. § 1030(a); LVRC Holdings LLC v.

19   Brekka, 581 F.3d 1127, 1133, or that any access damaged Plaintiffs’ servers, Intel Corp. v.

20   Hamidi, 30 Cal. 4th 1342, 1347 (2003).

21          6.      Plaintiffs’ Complaint is, accordingly, dismissed with prejudice.

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23          IT IS SO ORDERED.

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25   Dated: ________________, 2020            _____________________________________________
                                                 THE HONORABLE PHYLLIS J. HAMILTON
26
                                                  CHIEF UNITED STATES DISTRICT JUDGE
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      [PROPOSED] ORDER GRANTING                      1                         Case No. 4:19-cv-07123-PJH
      MOTION TO DISMISS
